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                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

EDDIE L. BOLDEN,                                )
                                                )
                        Plaintiff,              )             Case No. 17 C 00417
                                                )
                vs.                             )             Honorable Steven C. Seeger
                                                )
PESAVENTO, et al.,                              )
                                                )
                        Defendants.             )


    PLAINTIFF’S REQUEST FOR THE COURT TO TAKE JUDICIAL NOTICE OF
     FACTS RELATED TO PLAINTIFF’S MALICIOUS PROSECUTION CLAIM

         Plaintiff Eddie L. Bolden, through his undersigned counsel, submits the following Request

for the Court to Take Judicial Notice of Facts Related to Plaintiff’s Malicious Prosecution Claim.

In support of this request, Plaintiff states as follows:

    I.      Introduction

         In this Court’s September 22, 2021 rulings on the parties motions in limine, the Court

recognized that the post-conviction rulings in Plaintiff’s criminal proceedings, including the

issuance of a Certificate of Innocence, were relevant to the issue of whether the proceedings

terminated in Plaintiff’s favor. See Dkt. 467 at 6-7, 25-26. But the Court also recognized that “the

jury should not hear judicial commentary on the credibility of witnesses.” Id. at 7.

         To comply with the Court’s instructions and simplify the case, the following week Plaintiff

proposed a series of straightforward stipulations to defense counsel, which would allow Plaintiff

to put in the evidence needed to prove his malicious prosecution claim, while at the same time

obviating the need to put the detailed post-conviction opinions in front of the jury. See

September 28, 2021 Email and Attachment from Valerie Brummel, attached hereto as Exhibit 7.

Specifically, the proposed stipulations would provide the jury with information regarding “the
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circumstances surrounding the abandonment of the criminal proceedings,” which “support an

inference that there existed a lack of reasonable grounds to pursue the criminal prosecution.”

Beaman v. Freesmeyer, 2021 IL 125617 ¶¶ 108-113 (reviewing post-conviction proceedings to

determine whether a reasonable jury could find for plaintiff on the “favorable termination element”

of his malicious prosecution claim). To date, Defendants have not agreed to these proposed

stipulations. Accordingly, to avoid putting complex judicial opinions before the jury, Plaintiff asks

the Court to take judicial notice of certain facts related to the procedural history and judicial

opinions in his criminal case.

       A court may take judicial notice of any fact that “can be accurately and readily determined

from sources whose accuracy cannot reasonably be questioned.” See Fed. R. Evid. 201(b)(2).

Where a party provides the court with the necessary information, the court “must” take judicial

notice. See Fed. R. Evid. 201(c)(2). The facts below come from public records and their accuracy

cannot be questioned.

       Moreover, “it is a well-settled principle that the decision of another court … is a proper

subject of judicial notice.” Opoka v. I.N.S., 94 F.3d 392, 394 (7th Cir. 1996). In taking judicial

notice of another court’s decision, the court is “not considering the reasons underlying” the judicial

decision, “but the simple fact that the decision has been made.” Id. The statements regarding court

decisions below fit squarely within this permissible scope of judicial notice because the Court

would not be taking notice of the truth or accuracy of the underlying statements within the judicial

decisions—the fact that an opinion was issued and that it contains certain language is what is

relevant to Mr. Bolden’s claims.
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   II.        Facts Subject to Judicial Notice

         1.      On October 30, 1996, Mr. Bolden was convicted after trial of the murders of

Derrick Frazier and Ledell Clayton, the attempted murder of Clifford Frazier, and the aggravated

battery of Clifford Frazier. See Verdict Form from People of the State of Illinois v. Edward Bolden,

No. 94-CR-8397, attached hereto as Exhibit 1.

         2.      On October 31, 1996, Mr. Bolden was sentenced to natural life in prison. See

Excerpt from Oct. 31, 1996 Proceedings in People of the State of Illinois v. Edward Bolden,

No. 94-CR-8397, attached hereto as Exhibit 2.

         3.      After Mr. Bolden’s appeals were denied, he filed a post-conviction petition in the

Circuit Court of Cook County. Mr. Bolden asserted that his trial attorney, Kevin Foster, was

constitutionally defective. Mr. Bolden maintained that the outcome of his trial would have been

different if his counsel had provided effective assistance. The Circuit Court of Cook County

dismissed Mr. Bolden’s post-conviction petition without allowing an evidentiary hearing on the

petition. Mr. Bolden appealed that decision. See Plaintiff’s Trial Exhibit 27, attached hereto as

Exhibit 3.

         4.      On June 18, 2014, the Illinois Court of Appeals reversed the Circuit Court’s

dismissal of Mr. Bolden’s post-conviction petition and ordered that Mr. Bolden was entitled to an

evidentiary hearing. The Court of Appeals determined that Mr. Bolden’s Petition adequately

alleged that his trial counsel committed a number of “unprofessional errors.” The Court of Appeals

ruled that Mr. Bolden had “substantially shown that he would have achieved a better result if

counsel had not committed the unprofessional errors.” The Court concluded: “In light of the

extremely thin case for the prosecution, based solely on the identification testimony of a single

witness who did not know Bolden, and whose initial description of the shooter did not closely
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match Bolden’s appearance, we find that Bolden has substantially shown that he suffered prejudice

due to trial counsel’s errors.” See Ex. 3 (Plaintiff’s Trial Exhibit 27).

         5.    As a result of the Illinois Court of Appeals Order, Mr. Bolden’s case was sent back

to the Circuit Court of Cook County for an evidentiary hearing, which took place between

November 10, 2015 and November 30, 2015. See Plaintiff’s Trial Exhibit 25, attached hereto as

Ex. 4.

         6.    On January 21, 2016, the Circuit Court of Cook County, Judge Alfredo Maldonado,

vacated Mr. Bolden’s convictions and ordered a new trial for Mr. Bolden. In reaching his

conclusion, Judge Maldonado concluded that the State’s evidence was “slight” and that if the trial

had been conducted in accordance with the constitution, it was likely that Mr. Bolden would have

been found not guilty. The Court vacated Mr. Bolden’s conviction, meaning it is as if the

conviction never happened, and ordered a new trial. See Ex. 4 (Plaintiff’s Trial Exhibit 25).

         7.    On April 19, 2016, the Cook County State’s Attorney’s Office moved to dismiss

all charges against Mr. Bolden. The Circuit Court of Cook County granted the State’s motion and

dismissed all charges against Mr. Bolden that same day, and he was released from prison. See

Plaintiff’s Trial Exhibit 187, attached hereto as Ex. 5.

         8.    On May 25, 2016, Mr. Bolden filed a Petition for a Certificate of Innocence. On

September 1, 2016, the Honorable LeRoy K. Martin, the Presiding Judge of the Criminal Division

of the Circuit Court of Cook County, held a hearing on Mr. Bolden’s Petition for a Certificate of

Innocence. The Cook County State’s Attorney’s Office did not oppose Mr. Bolden’s Petition for

a Certificate of Innocence. At the conclusion of the hearing, Judge Martin issued an Order granting

Mr. Bolden’s Certificate of Innocence. See Plaintiff’s Trial Exhibit 72, attached hereto as Ex. 6.
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Dated: October 18, 2021                  Respectfully Submitted,

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